Case 1:17-cv-03000-ARR-VMS Document 44 Filed 09/28/18 Page 1 of 6 PageID #: 449




    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
    ------------------------------------------------------------------
    NIESHA MCKNIGHT, CHYNA SCOTT,
    CHRISTOPHER SCOTT and JONATHAN SPRAUS,                                 17-CV-3000 (ARR)(VMS)

                               Plaintiffs,
    -against-

    DETECTIVE JOSEPH CORTRIGHT, POLICE
    OFFICER FRANCIS NOONAN, SERGEANT
    CHRISTOPHER SCHMITT, and DETECTIVE JORGE
    SALAZAR, all of whom are sued individually and in
    their official capacities, all of whom are sued
    individually and in their official capacities,

                               Defendants.
    ------------------------------------------------------------------




                      MEMORANDUM OF LAW IN OPPOSITION TO
                   DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




   Dated: New York, New York
          September 28, 2018

                                                           Aaron M. Rubin, Esq.

                                                           9 East 40th Street, 11th Floor
                                                           New York, New York 10016
                                                           Tel.: (212) 725 - 4600
                                                           Attorney for Plaintiffs
Case 1:17-cv-03000-ARR-VMS Document 44 Filed 09/28/18 Page 2 of 6 PageID #: 450




                                 PRELIMINARY STATEMENT

                   This memorandum of law is respectfully submitted on behalf of Plaintiffs

    in opposition to Defendants’ motion for summary judgment.



                                           ARGUMENT

    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT SHOULD BE DENIED


                   Summary judgment should be granted only “when the pleadings,

    depositions, interrogatories, admissions, and affidavits demonstrate that there are no

    genuine issues of material fact in dispute and that one party is entitled to judgment as a

    matter of law.” Wharton v. County of Nassau, 2010 U.S. Dist. LEXIS 99174, *6

    (E.D.N.Y. Sept. 20, 2010) (citations omitted); see Fed. R. Civ. P. 56(c). “A genuine issue

    of material facts exists ‘if the evidence is such that a reasonable jury could return a

    verdict for the nonmoving party.’” Id.

                   Defendants’ factual 56.1 statement remarkably omits any reference to this

    lawsuit’s central and most disturbing allegations of excessive force against Detective

    Salazar, in which he is accused of unnecessarily and violently throwing a pregnant

    Niesha McKnight to the ground on her stomach. (See generally Defendants’ 56.1

    statement, paragraph 7, and Plaintiff’s response in paragraphs 7a-7p)

                   Defendant police officers testified they recovered a single bullet from

    Plaintiff Christopher Scott’s room, a marijuana cigarette from Jonathan Spraus, and from

    a storage room: a scale and some plastic bags, and an unidentified plastic bottle

    containing a red liquid. The recovery of these items did not establish probable cause to

                                                1 of 5
Case 1:17-cv-03000-ARR-VMS Document 44 Filed 09/28/18 Page 3 of 6 PageID #: 451




    arrest Plaintiffs, and in any event, there simply was no reason to arrest Niesha McKnight

    and Chyna Scott for any of these items, which is presumably why police released them

    directly from the precinct without ever charging them with a crime.

                   With respect to the scale and bags, although police charged Christopher

    Scott and Jonathan Spraus with their possession as paraphernalia in violation of Penal

    Law Section 220.50, there was never any evidence observed that could have reasonably

    led police to believe these items were possessed with an intent to manufacture or sell

    narcotics (as the penal law requires). Police conceded in their testimony that the scale

    and bags were recovered in a storage room in the apartment.

                   Police officers testified in their depositions that they recovered, also from

    the storage closet, a red liquid in an unmarked bottle, which they inexplicably concluded

    was a narcotic – a determination for which they clearly had no training or knowledge.

    Based on that groundless belief, they additionally charged Christopher Scott and Jonathan

    Spraus with felony possession of narcotics. Not surprisingly, the liquid turned out not to

    be a controlled substance at all.

                   The arrests for paraphernalia and narcotics, relating to the scale, bags and

    unidentified liquid, were obviously false and without probable cause. Which is

    presumably the reason why those charges were entirely omitted from the criminal court

    complaint filed against Mr. Scott and Mr. Spraus.




                                               2 of 5
Case 1:17-cv-03000-ARR-VMS Document 44 Filed 09/28/18 Page 4 of 6 PageID #: 452




                   Instead, the criminal court complaint charged Mr. Scott and Mr. Spraus

    together with possession of marijuana and ammunition (even though there was no basis

    to associate the bullet with Mr. Spraus because it was recovered from Mr. Scott’s

    bedroom dresser, and there was no basis to associate the marijuana cigarette with Mr.

    Scott because it was recovered from Mr. Spraus’ person). Certainly Detective Cortright’s

    signing of the recklessly charged complaint, which was filed in court, is enough to show

    that he initiated process against Spraus and Christopher Scott and did so with the

    requisite malice. See, e.g., Nickey v. City of New York, 2013 US Dist. Lexis 141047

    (EDNY 2013). It would not be far-fetched to believe that Det. Cortright sought to justify

    his arrests with a complaint that was wrongly charged. See, e.g., Khan v. Ryan, 145 F.

    Supp. 2d 280, 285 (E.D.N.Y. 2001) (“The element of malice does not connote actual

    spite or hatred, but means only that the defendant must have commenced the criminal

    proceeding due to a wrong or improper motive, something other than a desire to see the

    ends of justice served.”)

                   Police recovered the bullet only after Mr. Scott alerted them to its

    presence inside of his dresser drawer where he kept it alone in a jewelry box. The

    recovery of this single bullet with no evidence of any intent or ability to use it in

    association with a firearm did not justify an arrest. See, e.g., People v. Volkes, 771

    N.Y.S.2d 797, 799 (Crim. Ct. 2003) (noting that an essential element of the offense

    requires that ammunition is “suitable to be fired”) For this reason, police therefore failed

    to name any specific statute in their arrest paperwork relating to the single bullet, and

    then charged an entirely irrelevant and inapplicable section of the administrative code in

    the criminal complaint, (the inapplicable charge in the complaint erroneously alleged a

                                                3 of 5
Case 1:17-cv-03000-ARR-VMS Document 44 Filed 09/28/18 Page 5 of 6 PageID #: 453




    crime prohibiting possession of a bullet that is a different caliber from a firearm that is

    lawfully possessed).

                   Nevertheless, Defendants contend that the arrests were valid, not only

    pertaining to Mr. Spraus and Mr. Scott, but with respect to Niesha McKnight and Chyna

    Scott, who were never alleged to have physically possessed any of the items recovered in

    the apartment. Defendants intend to now argue probable cause based only on the

    mistaken theory that any individual merely present in the apartment could have been

    validly arrested.

                   Finally, at the very least, a genuine issue of material fact exists as to Ms.

    McKnight’s claim of excessive force against Det. Salazar. Ms. McKnight testified in her

    deposition that she was visibly six-months pregnant and without her shirt (dressed only in

    a bra) when police entered the apartment at dawn by force, and when Det. Salazar threw

    her to the ground on her stomach with her hands cuffed behind her back. Det. Salazar

    then pushed his knee into her back, and shouted obscenities at Ms. McKnight, in front of

    her family, with no justification. It is disappointing that the City of New York now

    argues that such conduct was justified or reasonable. In any event, that determination is

    an issue of fact that precludes summary judgment.




                                                4 of 5
Case 1:17-cv-03000-ARR-VMS Document 44 Filed 09/28/18 Page 6 of 6 PageID #: 454




                                      CONCLUSION

                  For the foregoing reasons, Defendants’ motion for Summary Judgment

    should be denied.


                                                    ________s/__________
     Dated: New York, New York                      Aaron M. Rubin, Esq.
            September 28, 2018
                                                    9 East 40th Street, 11th Floor
                                                    New York, New York 10016
                                                    Tel.: (212) 725 - 4600
                                                    Attorney for Plaintiffs




                                           5 of 5
